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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                             Norfolk Division


UNITED STATES OF AMERICA

v.                                                            2:06CR17

KEITH G. LEBEAUX,

                Defendant.


                          REPORT AND RECOMMENDATION
                           CONCERNING GUILTY PLEA

           Defendant, by consent, has appeared before the undersigned

pursuant to Rule 11, Federal Rules of Criminal Procedure, and referral

from a United States District Judge and has entered a guilty plea to

conspiracy to commit mail and bank fraud, in violation of 18 U.S.C. §§

2, 371, 1341, and 1344.    Defendant is also charged with mail fraud, bank

fraud, and creating counterfeit securities of organizations, in violation

of 18 U.S.C. §§ 2, 1341, 1344, and 513(a).        Defendant understands that

the latter two charges will be dismissed upon acceptance of his guilty

plea, and the United States confirmed defendant’s understanding.

           Defendant    was   represented   by    retained    counsel,   Trevor

Robinson, Esquire.     On August 31, 2006, defendant appeared before the

Court for the purpose of entering his guilty plea.           He was appropriate

in appearance, responsive, and competently prepared for the hearing.

           Defendant answered all questions put to him in clear and

concise language.    On those occasions when he had a question, defendant

consulted with counsel      and then   promptly   answered.      Defendant was

courteous and appropriate in his behavior at all times and clearly

understood the seriousness of his position.           At the close of the
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proceeding,   defendant      was    continued       on    bond,   subject     to    the   same

conditions of release as originally imposed.

             Defendant is thirty years of age, attended some college, and

speaks English as his native language.                    There was no evidence that

defendant was on drugs, alcohol, or medication which might impair his

judgment.     He was cooperative throughout the proceeding.

             Defendant      entered    the       guilty    plea   pursuant     to    a    plea

agreement.    The Court is completely satisfied, based upon defendant’s

behavior and responses, that he has been well advised by counsel and that

he fully appreciates his position. Furthermore, he acknowledged that the

statement of facts prepared in anticipation of his plea accurately

reflects the government’s evidence, in the event of trial.

             After cautioning and examining defendant under oath concerning

each of the subjects mentioned in Rule 11, with particular emphasis on

his understanding of legal concepts and procedures, the Court determined

that the offense charged is supported by independent facts, establishing

each of the essential elements of such offense.                    Therefore, the Court

recommends that the guilty plea be accepted and that defendant be

adjudged guilty and have sentence imposed accordingly.

             Failure   to    file     written      objections     to   this    report      and

recommendation within ten days from the date of its service shall bar an

aggrieved party from attacking such report and recommendation before the

assigned United States District Judge.               28 U.S.C. § 636(b)(1)(B).



                                                                /s/
                                                   James E. Bradberry
                                                   United States Magistrate Judge
Norfolk, Virginia
 September 8, 2006


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                      Clerk's Mailing Certificate

           A copy of the foregoing Report was mailed this date to each of

the following:


           Trevor Robinson, Esquire
           Robinson, Neeley & Anderson
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           Norfolk, VA 23510


           Steven W. Haynie, Esquire
           Assistant United States Attorney
           United States Attorney’s Office
           101 West Main Street, Suite 8000
           Norfolk, VA 23510


                                         Fernando Galindo, Acting Clerk


                                         By _______________________________
                                                      Deputy Clerk

                                         _____________________________, 2006




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